USCA Case #23-1113     Document #2047606         Filed: 03/29/2024   Page 1 of 15



              UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


STATE OF NEVADA,                    )
                                    )
                Petitioner,         )
                                    )
v.                                  )      Case No. 23-1113
                                    )
U.S. ENVIRONMENTAL                  )
PROTECTION AGENCY and               )
MICHAEL S. REGAN,                   )
Administrator, U.S. EPA,            )
                                    )
                Respondents.        )


STATE OF NEVADA’S MOTION TO GOVERN FUTURE PROCEEDINGS



                                 Aaron D. Ford
                             Nevada Bar No. 7704
                           ATTORNEY GENERAL
                                Heidi Parry Stern
                             Nevada Bar No. 8873
                            SOLICITOR GENERAL
                     Office of the Nevada Attorney General
                      555 E. Washington Ave., Ste. 3900
                             Las Vegas, NV 89101
                                Ph. 702-486-3594
                               HStern@ag.nv.gov

                         Attorneys for State of Nevada
USCA Case #23-1113       Document #2047606           Filed: 03/29/2024   Page 2 of 15



      On February 28, 2024, the Court issued an order requiring the parties in these

consolidated actions to file motions to govern further proceedings.

      In support of this motion, the Petitioner states as follows:

I.    Background

      These cases seek judicial review of the final decision of the U.S.

Environmental Protection Agency (“EPA”) to disapprove the individual State

Implementation Plans developed by Nevada, Utah and Oklahoma to comply with

the Clean Air Act’s “Interstate Transport Provision,” 42 U.S.C. 7410(a)(2)(D)(i), for

the 2015 ozone National Ambient Air Quality Standards. 88 Fed. Reg. 9,336 (Feb.

13, 2023) (“Final Rule”).

      Upon publication of the Final Rule, Nevada timely filed a petition for review

in this Court. Nevada further was granted intervention in the Ninth Circuit case

Nevada Cement Company LLC v. EPA (9th Cir. Apr. 14, 2023). On June 27, 2023,

this Court ordered the cases in abeyance and directed the parties to file motions to

govern further proceedings within 30 days of the Tenth Circuit’s disposition of State

of Utah v. EPA (10th Cir. Feb. 13, 2023) or the Ninth Circuit’s disposition in Nevada

Cement Company LLC v. EPA (9th Cir. Apr. 14, 2023), whichever occurs first.

      Accordingly, Nevada’s case proceeded in the Ninth Circuit and on July 3,

2023, the Ninth Circuit entered an order referring EPA’s motions to transfer the

petition to the United States Court of Appeals for the District of Columbia, or in the


                                          1
USCA Case #23-1113       Document #2047606           Filed: 03/29/2024    Page 3 of 15



alternative to dismiss the petition for improper venue to the panel of judges that will

decide the merits of the petition. Att. 1, Nevada Cement Co. v. EPA, No. 23-682,

Doc. 27.1, Order (9th Circuit. July 3, 2023). However, with the consent of all parties,

on December 6, 2023, the case entered the Ninth Circuit mediation program. Att. 2,

Nevada Cement Co. v. EPA, No. 23-682, Order (9th Circuit Dec. 6, 2023). The State

of Nevada is currently pursuing an out of court agreement with EPA. Due to

mediation, the Ninth Circuit has yet to rule on EPA’s motion to transfer or dismiss.

      On February 27, 2024, the Tenth Circuit issued an opinion holding that venue

was proper in this Court, not in the Tenth Circuit. Oklahoma v. EPA, 93 F.4th 1262

(10th Cir. 2024). The Tenth Circuit then accordingly transferred the cases to this

Court. Id. This Court then requested the parties file motions to govern future

proceedings. See Order Dkt. 2042800 at 2.

      On March 28, 2024, Petitioner State of Utah and Petitioner State of Oklahoma

filed Petitions for Writ of Certiorari requesting the Supreme Court of the United

States to review the 10th Circuit Court of Appeals transfer order. This Court

therefore should defer further consideration of Nevada’s petition pending the

outcome of the proceedings in the Ninth Circuit and/or the Supreme Court.




                                          2
USCA Case #23-1113       Document #2047606           Filed: 03/29/2024     Page 4 of 15



II.   Motion to Govern

      A.     Abeyance

      Petitioner State of Nevada respectfully requests that this Court hold its petition

for review in abeyance pending a final decision by the Ninth Circuit Court of

Appeals where Petitioner intervened in Nevada Cement Company’s challenge.

Nevada Cement Company LLC v. EPA, No. 26-382 (9th Circuit).                 Or, in the

alternative, hold the petition in abeyance pending the Supreme Court’s decision on

the Petitions for Certiorari. EPA opposes this motion.

      The administration of justice dictates that this Court abate the proceedings

while the Ninth Circuit considers the Petition for Review and/or the Supreme Court

considers the Petitions for Certiorari. Ordering Nevada to initiate proceedings in

this Court while the case is moving forward in the Ninth Circuit would create

unnecessary litigation and the potential for divergent decisions challenging the same

EPA actions. Nevada opposes any disruption to the process taking place in the Ninth

Circuit and requests this Court continue to hold Nevada’s petition in abeyance

pending the Ninth Circuit proceedings. Further, continuing the abatement would not

harm any of the parties because Petitioners and Respondents would have the

opportunity to pursue the same arguments and seek the same relief in the Ninth

Circuit as would be sought in this Court.




                                            3
USCA Case #23-1113       Document #2047606           Filed: 03/29/2024   Page 5 of 15



      Nevada is moving forward with its case in the Ninth Circuit mediation

program and is in discussions with EPA. If the mediation process fails to produce

an informal resolution, Nevada intends to move the litigation process forward in the

Ninth Circuit. Unless one court stands down, each court “would be required to

duplicate their efforts” with the potential to “generate contradictory results…”

Utahamerican Energy, Inc. v. Dep’t of Labor, 685 F.3d 1118, 1124 (D.C. Cir. 2012).

If abeyance is denied and both petitions proceed, the same parties would be litigating

the same issues before separate courts with the potential for outcomes in conflict.

      Accordingly, the Court should grant this motion as the continued abeyance

will promote judicial efficiency, avoid potentially conflicting results, and will not

harm any parties.

      B.     Briefing Schedule

      EPA proposes a briefing schedule for Nevada and requests expedited

consideration. Nevada does not oppose the length or format of EPA’s proposed

briefing schedule but does oppose the briefing schedule deadlines as premature.

First, as previously argued, Nevada is currently mediating in the Ninth Circuit and

requests these proceedings be abated pending the outcome there. Alternatively, due

to the Petitions for Certiorari, Nevada requests that the opening brief be due 30 days

after the Supreme Court’s disposition of the Petitions, rather than 30 days after this

Court’s disposition of the Motions to Govern. This will allow for briefing, oral


                                          4
USCA Case #23-1113        Document #2047606             Filed: 03/29/2024    Page 6 of 15



argument, if any, and a decision to occur in the proper venue. For these reasons,

Nevada respectfully requests that the Court not adopt a briefing schedule with

respect to Nevada until resolution of proper venue either from the Ninth Circuit or

the Supreme Court. However, if this Court orders briefing, Nevada requests this

Court abate the decision on the merits until the Supreme Court makes a decision.

Further, in the event the Supreme Court decides that EPA’s disapproval of the State

Implementation Plans is a regional issue rather than a national issue, Nevada

reserves its right to transfer the briefs to the Ninth Circuit for disposition.

III.   Conclusion

       For the foregoing reasons, the Court should continue to hold the Petition for

Review filed by the State of Nevada in abeyance until the issue of proper venue is

resolved.

       Dated: March 29, 2024
                                         Respectfully submitted,

                                         AARON D. FORD
                                         Attorney General

                                         By: /s/ Heidi Parry Stern
                                             Heidi Parry Stern (Bar. No. 8873)
                                             Solicitor General
                                             Office of the Nevada Attorney General
                                             555 E. Washington Ave., Ste. 3900
                                             Las Vegas, NV 89101
                                             (702) 486-3594
                                             HStern@ag.nv.gov

                                                Attorneys for State of Nevada

                                            5
USCA Case #23-1113      Document #2047606         Filed: 03/29/2024   Page 7 of 15



                     CERTIFICATE OF COMPLIANCE

      The foregoing motion contains 1,035 words and complies with the type-

volume limit in Fed. R. App. P. 27(d)(2)(A). The document complies with the

typeface and typestyle requirements of Fed. R. App. P. 32(a)(5)(A).

      Dated: March 29, 2024

                                      /s/ R. Carreau____________________
                                      An Employee of the Office of the
                                      Attorney General




                                        6
USCA Case #23-1113       Document #2047606         Filed: 03/29/2024   Page 8 of 15



                         CERTIFICATE OF SERVICE

      I hereby certify that on March 29, 2024, I electronically filed the foregoing,

STATE OF NEVADA’S MOTION TO GOVERN FUTURE PROCEEDINGS,

with the Clerk of the Court using the CM/ECF System, which will be therefore

served on all parties.



                                      /s/ R. Carreau____________________
                                      An Employee of the Office of the
                                      Attorney General




                                         7
USCA Case #23-1113   Document #2047606   Filed: 03/29/2024   Page 9 of 15




      Attachment 1




      Attachment 1
USCA Case #23-1113   Document #2047606   Filed: 03/29/2024   Page 10 of 15
USCA Case #23-1113   Document #2047606   Filed: 03/29/2024   Page 11 of 15
USCA Case #23-1113   Document #2047606   Filed: 03/29/2024   Page 12 of 15
USCA Case #23-1113   Document #2047606   Filed: 03/29/2024   Page 13 of 15




      Attachment 2




      Attachment 2
USCA Case #23-1113   Document #2047606   Filed: 03/29/2024   Page 14 of 15
USCA Case #23-1113   Document #2047606   Filed: 03/29/2024   Page 15 of 15
